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 1                                                THE HONORABLE RICARDO S. MARTINEZ
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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 9   JAMES GINZKEY, RICHARD                         Case No.: 2:18-cv-01773-RSM
10   FITZGERALD, CHARLES CERF, BARRY
     DONNER, and on behalf of the class members     STIPULATED MOTION TO REVISE
11   described below,                               SCHEDULING ORDER REGARDING
                                                    CLASS CERTIFICATION
12                  Plaintiffs,
                                                    NOTE ON MOTION CALENDAR:
13         v.                                       OCTOBER 3, 2019
14                                                  WITHOUT ORAL ARGUMENT
     NATIONAL SECURITIES CORPORATION,
15   a Washington Corporation,

16                  Defendant.
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      STIPULATED MOTION TO REVISE SCHEDULING                   BAKER & HOSTETLER LLP
      ORDER REGARDING CLASS CERTIFICATION                      999 Third Avenue, Suite 3600
      Case No.: 2:18-CV-1773                                   Seattle, WA 98104-4040
                                                               Telephone: (206) 332-1380
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 1          Plaintiffs James Ginzkey, Richard Fitzgerald, Charles Cerf, and Barry Donner

 2   (collectively, “Plaintiffs”) and Defendant National Securities Corporation (“Defendant”)

 3   (collectively, the “Parties”), by and through their undersigned attorneys, hereby submit this

 4   Stipulated Motion to Revise the Scheduling Order Regarding Class Certification in this case.

 5          IT IS HEREBY STIPULATED:

 6          WHEREAS, Plaintiffs filed the Complaint in this action on December 10, 2018

 7   (ECF No. 1);

 8          WHEREAS, the Court issued a Rule 16(b) and Rule 23(d) Scheduling Order Regarding

 9   Class Certification on August 2, 2019 (ECF No. 33). The Court set a deadline for the Parties to

10   complete discovery on class certification by November 3, 2019. The Court set a deadline for

11   Plaintiffs to file a motion for class certification by December 3, 2019;

12          WHEREAS, in September 2019, Defendant retained new lead counsel for this case.

13   Defendant is now represented by Fred Knopf, Chad Weaver, Elizabeth Fellmeth, and Nikki

14   Sachdeva of Freeman Mathis & Gary, LLP. Counsel are located in Connecticut and California

15   and will file applications to appear pro hac vice in this case. Defendant also continues to be

16   represented by Douglas Greene and James Morrison of Baker & Hostetler LLP in Seattle,

17   Washington;

18          WHEREAS, the Parties have begun to conduct discovery on class certification through

19   written discovery requests;

20          WHEREAS, given the complexity of the class certification issues and the nature of

21   Plaintiffs’ claims, the Parties anticipate conducting substantial additional discovery regarding class

22   certification, including document discovery, depositions of the four Plaintiffs, depositions of

23   additional investor witnesses, and Rule 30(b)(6) depositions of Defendant;

24          WHEREAS, there is good cause to continue the deadlines for class certification discovery

25   and briefing based on Defendant’s retention of new counsel. Counsel have required time to

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 1   transfer and review case files, investigate Plaintiffs’ claims, and confer with Plaintiffs’ counsel

 2   regarding discovery;

 3          WHEREAS, there is further good cause to revise the Scheduling Order Regarding Class

 4   Certification given the amount of time required to conduct all necessary discovery on class

 5   certification issues. In particular, the Parties anticipate that they will need three additional months

 6   to collect and exchange documents, prepare for and take several depositions, confer on any

 7   discovery issues, and make any necessary discovery motions. The Parties request that the deadline

 8   for discovery on class certification be set no earlier than February 3, 2020 to allow for the Parties

 9   to take all necessary depositions, considering the scheduling needs and constraints of

10   approximately six to ten witnesses (who are located in different states), counsel for Plaintiffs and

11   Defendant, and the upcoming holidays;

12          WHEREAS, the Parties therefore request that the Court revise its Rule 16(b) and Rule

13   23(d) Scheduling Order Regarding Class Certification to allow time for the Parties to adequately

14   conduct discovery on and brief the class certification issues;

15          NOW THEREFORE, in consideration of the Parties’ stipulation and good cause shown,

16   the Parties respectfully request the Court’s approval of this Motion and an Order revising the

17   Scheduling Order as follows:

18
      Deadline to complete discovery on class                            February 3, 2020
19    certification (not to be construed as a
      bifurcation of discovery)
20
      Deadline for Plaintiffs to file motion for class                    March 2, 2020
21
      certification (noted on the fourth Friday after
22    filing and service of the motion pursuant to
      Local Rules W.D. Wash. LCR 7(d)(3) unless
23    the parties agree to different times for filing
      the response and reply memoranda).
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 1   DATED: October 2, 2019
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16                                            Attorneys for Plaintiffs
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17                                            Cerf, and Barry Donner
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     DATED: October 1, 2019
20                                     By: __/s/ James R. Morrison________________
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 1                                            Fred Knopf, pro hac vice pending
                                              Chad Weaver, pro hac vice pending
 2                                            Elizabeth Fellmeth, pro hac vice pending
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 8
                                              Attorneys for Defendant
 9                                            National Securities Corporation
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     IT IS SO ORDERED.
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14   DATED: ____________, 2019           By: ___________________________________
                                               HON. RICARDO S. MARTINEZ
15                                             UNITED STATES DISTRICT JUDGE
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